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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                HOT SPRINGS DIVISION

 CHRISTOPHER R. YORK                                                                PLAINTIFF


 v.                                  Civil No. 6:21-cv-6078


 HINDERSON and CORPORAL BEARD                                                   DEFENDANTS


                                            ORDER

       Before the Court is the Report and Recommendation filed August 11, 2021, by the

Honorable Barry A. Bryant, United States Magistrate Judge for the Western District of Arkansas.

(ECF No. 8). Judge Bryant recommends that the Court dismiss Plaintiff Christopher R. York’s

complaint without prejudice pursuant to 28 U.S.C. § 1915A(b), because the complaint fails to state

a claim upon which relief may be granted.

       Plaintiff has not filed objections to the Report and Recommendation and the time to do so

has passed. See 28 U.S.C. § 636(b)(1). Being well and sufficiently advised, and finding no clear

error on the face of the record, the Court adopts the Report and Recommendation (ECF No. 8) in

toto. Plaintiff’s complaint is hereby DISMISSED WITHOUT PREJUDICE pursuant to 28

U.S.C. § 1915A(b). The Clerk is directed to place a § 1915(g) strike flag on this case.

       IT IS SO ORDERED, this 6th day of October, 2021.

                                                            /s/ Susan O. Hickey
                                                            Susan O. Hickey
                                                            Chief United States District Judge
